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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;
&lt;CENTER&gt;NO. 03-0&lt;A NAME="1"&gt;1&lt;/A&gt;-00&lt;A NAME="2"&gt;346&lt;/A&gt;-CR&lt;/CENTER&gt;


&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;



&lt;CENTER&gt;&lt;A NAME="3"&gt;Owen Chaney&lt;/A&gt;, Appellant&lt;/CENTER&gt;


&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;
&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;TRAVIS&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;147TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;006514&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;WILFORD FLOWERS&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;


PER CURIAM

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Appellant  pleaded guilty to driving while intoxicated.  &lt;EM&gt;See&lt;/EM&gt; Tex. Penal Code Ann. 
§§ 49.04(a), .09(b) (West Supp. 2001).  The district court adjudged him guilty and assessed
punishment at imprisonment for six years, as called for in a plea bargain agreement.  Both appellant,
acting pro se, and appointed appellate counsel filed general notices of appeal.&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;When a defendant pleads guilty to a felony and the punishment assessed does not
exceed that recommended by the prosecutor and agreed to by the defendant, the notice of appeal
must state that the appeal is for a jurisdictional defect, or that the substance of the appeal was raised
by written motion and ruled on before trial, or that the trial court granted permission to appeal.  Tex.
R. App. P. 25.2(b)(3).  Appellant's notice of appeal does not comply with this rule and fails to confer
jurisdiction on this Court.&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;  &lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;EM&gt;Whitt v. State&lt;/EM&gt;, 45 S.W.3d 274, 275 (Tex. App.--Austin 2001, no pet.);
&lt;EM&gt;see also Cooper v. State&lt;/EM&gt;, 45 S.W.3d 77, 80-81 (Tex. Crim. App. 2001).&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;The appeal is dismissed for want of jurisdiction.&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Before Chief Justice Aboussie, Justices Yeakel and Patterson&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Dismissed for Want of Jurisdiction&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Filed:   July 31, 2001&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Do Not Publish&lt;/SPAN&gt;&lt;/P&gt;

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